      Case 1:22-cv-00896-PLM-SJB ECF No. 1, PageID.1 Filed 09/27/22 Page 1 of 15



1                                 UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF MICHIGAN
2

3    SPENCER NEAL,                                  )       CASE NO.: _____________________
                                                    )
4                    Plaintiff,                     )       JUDGE ________________________
                                                    )
5
            vs.                                     )       COMPLAINT FOR INJUNCTIVE
6                                                   )       RELIEF AND DAMAGES:
                                                    )
7    SHYAM RADHEY INC.,                             )       1ST CAUSE OF ACTION: For Denial of
                                                    )       Access by a Public Accommodation in
8
                     Defendant.                     )       Violation of the Americans with Disability
9                                                   )       Act of 1990 (“Title III” and “ADA”),
                                                    )       42 U.S.C. §§ 12181 et seq.
10                                                  )
                                                    )       2ND CAUSE OF ACTION: For Denial of
11
                                                    )       Access by a Public Accommodation in
12                                                  )       Violation of Michigan Persons with
                                                    )       Disabilities Civil Rights Act M.C. L.
13                                                  )       37.1301, et seq.
14

15          Plaintiff SPENCER NEAL Complains of Defendant SHYAM RADHEY INC., and

16   alleges as follows:
17
     INTRODUCTION:
18
            1.       This is a civil rights action for discrimination against persons with physical
19
     disabilities, of which plaintiff is a member of, for failure to remove architectural barriers
20

21   structural in nature at Defendant’s property, a place of public accommodation, thereby

22   discriminatorily denying plaintiff access to, the full and equal enjoyment of, opportunity to
23
     participate in, and benefit from, the goods, facilities, services, and accommodations thereof.
24
     Plaintiff seeks injunctive relief and damages pursuant to the Americans with Disability Act of
25
     1990 (“title III” AND “ADA”), 42. U.S.C. §§ 12181 et seq., and the Michigan Persons with
26

27   Disabilities Civil Rights Act M.C.L 37.1301, et seq.

28          2.       Plaintiff SPENCER NEAL is a person with physical disabilities who, on or about
     COMPLAINT - 1
      Case 1:22-cv-00896-PLM-SJB ECF No. 1, PageID.2 Filed 09/27/22 Page 2 of 15



1    April 26, 2022 through April 27, 2022, was an invitee, guest, patron, or customer at Defendant’s
2
     property, which houses a SLEEP INN & SUITES hotel, located at 5597 S 9th St., Kalamazoo,
3
     MI 49009. At said time and place, Defendant failed to provide proper legal access to the
4
     property, which is a public accommodation and/or public facility. The denial of access was in
5

6    violation of both federal and Michigan legal requirements, and NEAL suffered violations of his

7    civil rights to full and equal access and was embarrassed and humiliated.
8
     JURISDICTION AND VENUE:
9
             3.      Jurisdiction: This Court has jurisdiction of this action pursuant to 28 U.S.C.
10
     §1331 for violations of the Americans with Disabilities Act of 1990, 42 U.S.C. §12101, et seq.
11

12   Pursuant to pendant jurisdiction, attendant and related causes of action, arising from the same

13   nucleus of operative facts and arising out of the same transactions, are also brought under
14
     parallel Michigan law, whose goals are closely tied with the ADA, including but not limited to
15
     violations of the Michigan Persons with Disabilities Civil Rights Act M.C.L 37.1301, et seq.
16
             4.      Venue: Venue is proper in this court pursuant to 28 U.S.C. §1391(b) and is
17

18   founded on the facts that the real property which is the subject of this action is located in this

19   district, in the City of Kalamazoo, County of Kalamazoo, State of Michigan and that plaintiff’s
20
     causes of action arose in this district.
21
     PARTIES:
22
             5.      Plaintiff SPENCER NEAL is a “physically handicapped person,” a “physically
23

24   disabled person,” and a “person with physical disabilities.” (Hereinafter the terms “physically

25   disabled,” “physically handicapped” and “person with physical disabilities” are used
26
     interchangeably, as these words have similar or identical common usage and legal meaning.)
27
     NEAL is a “person with physical disabilities,” as defined by all applicable Michigan and United
28
     COMPLAINT - 2
      Case 1:22-cv-00896-PLM-SJB ECF No. 1, PageID.3 Filed 09/27/22 Page 3 of 15



1    States laws. NEAL requires the use of a wheelchair to travel about in public. Consequently,
2
     NEAL is a member of that portion of the public whose rights are protected by the Michigan
3
     Persons with Disabilities Civil Rights Act M.C.L 37.1301, et seq.
4
            6. Defendant SHYAM RADHEY INC., a Michigan for-profit corporation, is the
5

6    owner and operator, lessor and/or lessee, or agent of the owner, lessor and/or lessee, of the

7    building and/or buildings which constitute a public facility in and of itself, occupied by a SLEEP
8
     INN & SUITES hotel, a public accommodation, located at/near 5597 S 9th St., Kalamazoo, MI
9
     49009, and subject to the requirements of Michigan state law requiring full and equal access to
10
     public facilities pursuant to the Michigan Persons with Disabilities Civil Rights Act M.C.L
11

12   37.1301, et seq., and subject to the Americans with Disability Act of 1990 (“TITLE III” AND

13   “ADA”), 42. U.S.C. §§ 12181 et seq., and to all other legal requirements referred to in this
14
     complaint.
15
            7. At all times relevant to this complaint, Defendant is the lessee, or agent of the
16
     lessee, and/or lessor, of said premises, and owns and operates the subject SLEEP INN &
17

18   SUITES hotel as a public facility at/near 5597 S 9th St., Kalamazoo, MI 49009. The business, a

19   SLEEP INN & SUITES hotel, is open to the general public and conducts business therein. The
20
     business operating on said premises is a public accommodation subject to the requirements of the
21
     Michigan Persons with Disabilities Civil Rights Act M.C.L 37.1301, et seq.
22
            8. At all times relevant to this complaint, Defendant is the landlords/lessors,
23

24   tenants/lessees and the owners and operators of the subject hotel, a public accommodation

25   located at/near 5597 S 9th St., Kalamazoo, MI 49009. As such, Defendant is jointly and severally
26
     responsible to identify and remove architectural barriers pursuant to Code of Federal Regulations
27
     section 36.201(b), which states in pertinent part:
28
     COMPLAINT - 3
      Case 1:22-cv-00896-PLM-SJB ECF No. 1, PageID.4 Filed 09/27/22 Page 4 of 15



1           § 36.201        General
2
                            (b) Landlord and tenant responsibilities. Both the landlord
3                           who owns the building that houses a place of public
                            accommodation and the tenant who owns or operates the place of
4                           public accommodation are public accommodations subject to the
                            requirements of this part. As between the parties, allocation of
5
                            responsibility for complying with the obligations of this part may
6                           be determined by lease or other contract.

7                           CFR §36.201(b)
8
            9. Plaintiff does not know the true names of Defendant, its business capacities, its
9
     ownership connection to the property and business, nor their relative responsibilities in causing
10
     the access violations herein complained of. Plaintiff is informed and believes that the Defendant
11

12   herein is a public accommodation, and is the agent, ostensible agent, master, servant, employer,

13   employee, representative, franchisor, franchisee, partner, and associate, or such similar capacity,
14
     of each of the other defendants, if any, and was at all times acting and performing, or failing to
15
     act or perform, within the course and scope of his, her or its authority as agent, ostensible agent,
16
     master, servant, employer, employee, representative, franchiser, franchisee, partner, and
17

18   associate, or such similar capacity, and with the authorization, consent, permission or ratification

19   of each of the other defendants, and is responsible in some manner for the acts and omissions of
20
     the other defendants in legally causing the violations and damages complained of herein, and
21
     have approved or ratified each of the acts or omissions of each other defendant, as herein
22
     described.
23

24   PRELIMINARY FACTUAL ALLEGATIONS:

25          10. Defendant is the entity that is a public accommodation that owns, leases (or
26
     leases to), or operates, a SLEEP INN & SUITES hotel, located at 5597 S 9th St., Kalamazoo, MI
27
     49009. The SLEEP INN & SUITES hotel and each of its facilities are places “of public
28
     COMPLAINT - 4
      Case 1:22-cv-00896-PLM-SJB ECF No. 1, PageID.5 Filed 09/27/22 Page 5 of 15



1    accommodation” subject to the requirements of the Americans with Disability Act of 1990
2
     (“TITLE III” AND “ADA”), 42. U.S.C. §§ 12181 et seq., and the Michigan Persons with
3
     Disabilities Civil Rights Act M.C.L 37.1301, et seq. On information and belief, said facility has
4
     undergone “alterations, structural repairs and additions,” each of which has subjected the SLEEP
5

6    INN & SUITES hotel to handicapped access requirements.

7           11. Plaintiff SPENCER NEAL is a person with a disability. NEAL is a “physically
8
     disabled person,” as defined by all applicable Michigan and United States laws. NEAL is
9
     paralyzed and requires the use of a wheelchair for mobility and to travel in public.
10
            12. At all times referred to herein and continuing to the present time, Defendant
11

12   advertised, publicized and held out the SLEEP INN & SUITES hotel as being handicapped

13   accessible and handicapped usable.
14
            13. On or about April 26, 2022 through April 27, 2022, NEAL was an invitee and guest
15
     at the subject SLEEP INN & SUITES hotel, arriving for purposes of obtaining lodging.
16
            14. Upon his arrival, during his patronizing of the public accommodation, and upon his
17

18   exit of the facility, NEAL personally encountered architectural barriers which denied him the full

19   and equal access to the property.
20
            15. Therefore, at said time and place, NEAL, who is a person with disabilities,
21
     encountered numerous inaccessible elements of the subject SLEEP INN & SUITES hotel which
22
     constituted architectural barriers and a denial of the proper and legally required access to a public
23

24   accommodation to persons with physical disabilities. By way of example and not as an

25   exhaustive inventory of Defendant’s violations, the following barriers to access were personally
26
     encountered by NEAL within the facility’s (1) parking, (2) passenger loading zone, (3) lobby, (4)
27
     vending area (5) the elevators, (6) the laundry area, (7) guestroom number 200, (8) the breakfast
28
     COMPLAINT - 5
      Case 1:22-cv-00896-PLM-SJB ECF No. 1, PageID.6 Filed 09/27/22 Page 6 of 15



1    area, (9) the fitness area, (10) the public restroom, as well as (11), upon information and belief,
2
     other accessible guest rooms.
3
             On personal knowledge, information and belief, other public facilities and elements too
4
     numerous to list were improperly inaccessible for use by persons with physical disabilities.
5

6            16. At all times stated herein, the existence of architectural barriers at Defendant’s

7    place of public accommodation evidenced “actual notice” of Defendant’s intent not to comply
8
     with the Americans with Disability Act of 1990 (“TITLE III” AND “ADA”), 42. U.S.C. §§
9
     12181 et seq., and the Michigan Persons with Disabilities Civil Rights Act M.C.L 37.1301, et
10
     seq., either then, now or in the future.
11

12           17. As a legal result of Defendant’s failure to act as a reasonable and prudent public

13   accommodation in identifying, removing or creating architectural barriers, policies, practices and
14
     procedures that denied access to plaintiff and other persons with disabilities, plaintiff suffered
15
     damages as alleged herein.
16
             18. As a further legal result of the actions and failure to act of Defendant, and as a
17

18   legal result of the failure to provide proper handicapped-accessible public facilities as set forth

19   herein, NEAL was denied his civil rights to full and equal access to public facilities. NEAL
20
     suffered a loss of his civil rights and his rights as a person with physical disabilities to full and
21
     equal access to public facilities, and further suffered from personal physical injury, shame,
22
     humiliation, embarrassment, anger, disappointment and worry, expectedly and naturally
23

24   associated with a person with physical disabilities being denied access, all to his damages as

25   prayed hereinafter in an amount within the jurisdiction of this court.
26
             19. On information and belief, construction alterations carried out by Defendant has
27
     triggered access requirements under Americans with Disability Act of 1990 (“TITLE III” AND
28
     COMPLAINT - 6
      Case 1:22-cv-00896-PLM-SJB ECF No. 1, PageID.7 Filed 09/27/22 Page 7 of 15



1    “ADA”), 42. U.S.C. §§ 12181 et seq., and the Michigan Persons with Disabilities Civil Rights
2
     Act M.C.L 37.1301, et seq.
3
             20. NEAL, as described herein below, seeks injunctive relief to require the SLEEP INN
4
     & SUITES hotel to be made accessible to meet the requirements of both Michigan law and the
5

6    Americans with Disabilities Act, whichever is more restrictive, so long as Defendant operates

7    and/or leases the SLEEP INN & SUITES hotel as a public facility. Plaintiff seeks damages for
8
     violation of his civil rights, from the date of his visit until such date as Defendant brings the
9
     establishment into full compliance with the requirements of Michigan and federal law.
10
             21. On information and belief, Defendant has been negligent in its affirmative duty
11

12   to identify the architectural barriers complained of herein and negligent in the removal of some

13   or all of said barriers.
14
             22. Because of Defendant’s violations, NEAL and other persons with physical
15
     disabilities are unable to use public facilities such as those owned and operated by Defendant on
16
     a “full and equal” basis unless such facility is in compliance with the provisions of the
17

18   Americans with Disabilities Act and other accessibility law as plead herein. Plaintiff seeks an

19   order from this court compelling Defendant to make the SLEEP INN & SUITES hotel accessible
20
     to persons with disabilities.
21
             23. Plaintiff is informed and believes and therefore alleges that Defendant caused the
22
     subject property to be constructed, altered and/or maintained in such a manner that persons with
23

24   physical disabilities were denied full and equal access to, within and throughout said facility of

25   the SLEEP INN & SUITES hotel and were denied full and equal use of said public facility.
26
     Further, on information and belief, Defendant has continued to maintain and operate said facility
27
     in such conditions up to the present time, despite actual and constructive notice to such
28
     COMPLAINT - 7
      Case 1:22-cv-00896-PLM-SJB ECF No. 1, PageID.8 Filed 09/27/22 Page 8 of 15



1    Defendant that the configuration of the establishment and/or its building(s) are in violation of the
2
     civil rights of persons with physical disabilities, such as plaintiff and the disability community.
3
     Such construction, modification, ownership, operation, maintenance and practices of such public
4
     facilities are in violation of law as stated in Americans with Disability Act of 1990 (“TITLE III”
5

6    AND “ADA”), 42. U.S.C. §§ 12181 et seq. and elsewhere in the laws of Michigan.

7            24. On information and belief, the subject public facility of the SLEEP INN & SUITES
8
     hotel denied full and equal access to plaintiff and other persons with physical disabilities in other
9
     respects due to noncompliance with requirements of the Michigan Persons with Disabilities Civil
10
     Rights Act M.C.L 37.1301, et seq.
11

12           25. On personal knowledge, information and belief, the basis of Defendant’s actual

13   and constructive notice that the physical configuration of the facilities including, but not limited
14
     to, architectural barriers constituting the SLEEP INN & SUITES hotel was in violation of the
15
     civil rights of persons with physical disabilities, such as plaintiff, includes, but is not limited to,
16
     communications with invitees and guests, owners of other establishments and businesses, notices
17

18   Defendant obtained from governmental agencies upon modification, improvement, or substantial

19   repair of the subject premises and other properties owned by the Defendant, newspaper articles
20
     and trade publications regarding the Americans with Disabilities Act and other access laws,
21
     public service announcements, and other similar information. Defendant’s failure, under state
22
     and federal law, to make the establishment accessible is further evidence of Defendant’s
23

24   conscious disregard for the rights of plaintiff and other similarly situated persons with

25   disabilities. The scope and means of the knowledge of Defendant are within Defendant’s
26
     exclusive control and cannot be ascertained except through discovery.
27
             26.     Plaintiff will return to the subject SLEEP INN & SUITES hotel to patronize the
28
     COMPLAINT - 8
          Case 1:22-cv-00896-PLM-SJB ECF No. 1, PageID.9 Filed 09/27/22 Page 9 of 15



1    facility, if it is made fully accessible to a disabled person in a wheelchair, and to also avail
2
     himself of the hotel’s services.
3
              29.     Should the SLEEP INN & SUITES hotel become accessible, NEAL will visit it
4
     again because he will travel through Kalamazoo County, Michigan in Spring and Summer 2023.
5

6             30.     Furthermore, plaintiff intends to return to the SLEEP INN & SUITES hotel as an

7    ADA tester on an annual basis beginning in 2023, to ascertain whether Defendant removed the
8
     barriers to access which are the subject of this litigation.
9
     I.       FIRST CAUSE OF ACTION FOR DENIAL OF ACCESS BY A PUBLIC
10            ACCOMMODATION IN VIOLATION OF THE AMERICANS WITH
              DISABILITIES ACT OF 1990 (42 U.S.C. §12101, et seq.)
11

12            31.     Plaintiff pleads and incorporates by reference, as if fully set forth again herein,

13   the allegations contained in paragraphs 1 through 30 of this complaint.
14
              32.     Pursuant to law, in 1990, the United States Congress made findings per 42 U.S.C.
15
     §12101 regarding persons with physical disabilities, finding that laws were needed to more fully
16
     protect:
17

18                    some 43 million Americans with one or more physical or mental
                      disabilities; [that] historically society has tended to isolate and
19                    segregate individuals with disabilities; [that] such forms of
                      discrimination against individuals with disabilities continue to be a
20
                      serious and pervasive social problem; [that] the nation’s proper
21                    goals regarding individuals with disabilities are to assure equality
                      of opportunity, full participation, independent living and economic
22                    self-sufficiency for such individuals; [and that] the continuing
                      existence of unfair and unnecessary discrimination and prejudice
23
                      denies people with disabilities the opportunity to compete on an
24                    equal basis and to pursue those opportunities for which our free
                      society is justifiably famous.
25
           33. Congress stated as its purpose in passing the Americans with Disabilities Act of
26

27   1990 (42 U.S.C. §12102):

28                    It is the purpose of this act (1) to provide a clear and
     COMPLAINT - 9
     Case 1:22-cv-00896-PLM-SJB ECF No. 1, PageID.10 Filed 09/27/22 Page 10 of 15



1                   comprehensive national mandate for the elimination of
                    discrimination against individuals with disabilities; (2) to provide
2
                    clear, strong, consistent, enforceable standards addressing
3                   discrimination against individuals with disabilities; (3) to ensure
                    that the Federal government plays a central role in enforcing the
4                   standards established in this act on behalf of individuals with
                    disabilities; and (4) to invoke the sweep of Congressional
5
                    authority, including the power to enforce the 14th Amendment and
6                   to regulate commerce, in order to address the major areas of
                    discrimination faced day to day by people with disabilities.
7
        34.         As part of the Americans with Disabilities Act of 1990, (hereinafter the “ADA”),
8

9    Congress passed “Title III - Public Accommodations and Services Operated by Private Entities”

10   (Section 301 42 U.S.C. §12181, et seq.). Among the public accommodations identified for
11
     purposes of this title was:
12
                    (7) PUBLIC ACCOMMODATION - The following private
13                  entities are considered public accommodations for purposes of this
                    title, if the operations of such entities affect commerce -
14
                    ...
15                  (A) an inn, hotel, motel, or other place of lodging ***;

16                  42 U.S.C. §12181(7)(A).
17
        35. Pursuant to §302, 42 U.S.C. §12182, “No individual shall be discriminated
18
     against on the basis of disability in the full and equal enjoyment of the goods, services, facilities,
19
     privileges, advantages, or accommodations of any place of public accommodation by any person
20

21   who owns, leases, or leases to, or operates a place of public accommodation.”

22      36. The specific prohibitions against discrimination set forth in §302(b)(2)(a),
23
     42 U.S.C. §12182(b)(2)(a) are:
24
                    (i) the imposition or application of eligibility criteria
25                  that screen out or tend to screen out an individual with a disability
                    or any class of individuals with disabilities from fully and equally
26
                    enjoying any goods, services, facilities, privileges, advantages, or
27                  accommodations, unless such criteria can be shown to be
                    necessary for the provision of the goods, services, facilities,
28                  privileges, advantages, or accommodations being offered;
     COMPLAINT - 10
     Case 1:22-cv-00896-PLM-SJB ECF No. 1, PageID.11 Filed 09/27/22 Page 11 of 15



1
                    (ii) a failure to make reasonable modifications in
2
                    policies, practices, or procedures, when such modifications are
3                   necessary to afford such goods, services, facilities, privileges,
                    advantages or accommodations to individuals with disabilities,
4                   unless the entity can demonstrate that making such modifications
                    would fundamentally alter the nature of such goods, services,
5
                    facilities, privileges, advantages, or accommodations;
6
                    (iii) a failure to take such steps as may be necessary to
7                   ensure that no individual with a disability is excluded, denied
                    services, segregated or otherwise treated differently than other
8
                    individuals because of the absence of auxiliary aids and services,
9                   unless the entity can demonstrate that taking such steps would
                    fundamentally alter the nature of the good, service, facility,
10                  privilege, advantage, or accommodation being offered or would
                    result in an undue burden;
11

12                  (iv) a failure to remove architectural barriers, and
                    communication barriers that are structural in nature, in existing
13                  facilities . . . where such removal is readily achievable; and
14
                    (v) where an entity can demonstrate that the removal of
15                  a barrier under clause (iv) is not readily achievable, a failure to
                    make such goods, services, facilities, privileges, advantages or
16                  accommodations available through alternative methods if such
                    methods are readily achievable.
17

18      37. The acts of Defendant set forth herein were a violation of plaintiff’s rights under the

19   ADA, 42. U.S.C. §§ 12181 et seq., and the Michigan Persons with Disabilities Civil Rights Act
20
     M.C.L 37.1301, et seq., making available damage remedies.
21
        38. The removal of the barriers complained of by plaintiff as hereinabove alleged
22
     was at all times after January 26, 1992 “readily achievable” as to the subject SLEEP INN &
23

24   SUITES hotel pursuant to 42 U.S.C. §12182 (b)(2)(A)(i)-(iv). On information and belief, if the

25   removal of all the barriers complained of herein together was not “readily achievable,” the
26
     removal of each individual barrier complained of herein was “readily achievable.” On
27
     information and belief, Defendant’s failure to remove said barriers was likewise due to
28
     COMPLAINT - 11
     Case 1:22-cv-00896-PLM-SJB ECF No. 1, PageID.12 Filed 09/27/22 Page 12 of 15



1    discriminatory practices, procedures and eligibility criteria, as defined by §302(b)(2)(a)(i)-(iii);
2
     42 U.S.C. §12182 (b)(2)(A)(i).
3
        39. Per §301(9), 42 U.S.C. §12181 (9), the term “readily achievable” means “easily
4
     accomplishable and able to be carried out without much difficulty or expense.” The statute
5

6    defines relative “expense” in part in relation to the total financial resources of the entities

7    involved. Plaintiff alleges that properly repairing, modifying, or altering each of the items that
8
     plaintiff complains of herein were and are “readily achievable” by the Defendant under the
9
     standards set forth under §301(9) of the Americans with Disabilities Act. Further, if it was not
10
     “readily achievable” for Defendant to remove each of such barriers, Defendant has failed to
11

12   make the required services available through alternative methods which were readily achievable.

13      40. On information and belief, construction work on, and modifications of, the subject
14
     SLEEP INN & SUITES hotel occurred after the compliance date for the Americans with
15
     Disabilities Act, January 26, 1992, independently triggering access requirements under Title III
16
     of the ADA.
17

18      41. Pursuant to the Americans with Disabilities Act of 1990, 42 U.S.C. §12188, et

19   seq., §308, plaintiff is entitled to the remedies and procedures set forth in §204(a) of the Civil
20
     Rights Act of 1964, 42 U.S.C. 2000(a)-3(a), as plaintiff is being subjected to discrimination on
21
     the basis of disability in violation of this title or has reasonable grounds for believing that he
22
     is about to be subjected to discrimination in violation of §302. Plaintiff cannot return to or make
23

24   use of the public facilities complained of herein so long as the premises and Defendant’s policies

25   bar full and equal use by persons with physical disabilities.
26
        42. Per §308(a)(1) (42 U.S.C. 12188), “Nothing in this section shall require a person
27
     with a disability to engage in a futile gesture if such person has actual notice that a person or
28
     COMPLAINT - 12
     Case 1:22-cv-00896-PLM-SJB ECF No. 1, PageID.13 Filed 09/27/22 Page 13 of 15



1    organization covered by this title does not intend to comply with its provisions.” Pursuant to this
2
     last section, plaintiff has not returned to Defendant’s premises since on or about April 26, 2022
3
     through April 27, 2022, but alleges that Defendant has continued to violate the law and deny the
4
     rights of plaintiff and of other persons with physical disabilities to access this public
5

6    accommodation. Pursuant to §308(a)(2), “In cases of violations of §302(b)(2)(A)(iv) . . .

7    injunctive relief shall include an order to alter facilities to make such facilities readily accessible
8
     to and usable by individuals with disabilities to the extent required by this title.”
9
           43. Plaintiff seeks relief pursuant to remedies set forth in §204(a) of the Civil Rights
10
     Act of 1964 (42 U.S.C. 2000(a)-3(a)), and pursuant to federal regulations adopted to implement
11

12   the Americans with Disabilities Act of 1990, including but not limited to an order granting

13   injunctive relief and attorneys’ fees. Plaintiff will seek attorneys’ fees conditioned upon being
14
     deemed to be the prevailing party.
15
           44. Plaintiff seeks damages pursuant to the Michigan Persons with Disabilities Civil Rights
16
     Act M.C.L 37.1301, et seq., which provide, within the statutory scheme, that a violation of the
17

18   ADA and/or Michigan’s accessibility standards is a violation of Michigan law.

19            Wherefore, plaintiff prays for relief and damages as hereinafter stated.
20
     II.      SECOND CAUSE OF ACTION FOR DENIAL OF FULL AND EQUAL ACCESS
21            IN VIOLATION OF THE MICHIGAN PERSONS WITH DISABILITIES CIVIL
              RIGHTS ACT M.C.L 37.1301, ET SEQ.
22
           45. Plaintiff repleads and incorporates by reference as if fully set forth again herein,
23

24   the allegations contained in paragraphs 1 through 44 of this complaint.

25         46. At all times relevant to this action, the SLEEP INN & SUITES hotel and the
26
     business therein, are “places of public accommodation” pursuant to M.C.L. 37.1301(a).
27
           47. Defendant committed an unlawful act pursuant to M.C.L. 37.1302(a) by denying Plaintiff
28
     COMPLAINT - 13
     Case 1:22-cv-00896-PLM-SJB ECF No. 1, PageID.14 Filed 09/27/22 Page 14 of 15



1    his full and equal enjoyment of its goods, services, accommodations, advantages, facilities, or
2
     privileges at its place of public accommodation because of a disability, as prohibited by M.C.L.
3
     37.1302.
4
          48. Plaintiff has desired and attempted to enjoy the goods and services at the SLEEP INN &
5

6    SUITES hotel as a customer. He has been prevented from doing so do to the existing

7    architectural barriers at the property. As a result, he has been distressed and inconvenienced
8
     thereby, and is entitled to monetary damages for his injuries, as provided for in M.C.L. 37.1606.
9
          49. As a result of being denied full access to the property, Plaintiff has suffered, and will
10
     continue to suffer, emotional distress, humiliation, anxiety, anger, a loss of enjoyment of life, and
11

12   other consequential and incidental damages.

13        50. Pursuant to Michigan law, plaintiff is entitled to compensatory damages, and
14
     attorney fees and costs, in an amount to be determined at trial, but in any event not less than
15
     $25,000.00, as well as issuance of an injunction requiring Defendant to allow full and equal
16
     enjoyment of its goods, services, facilities, privileges, and advantages to disabled persons.
17

18           Wherefore, plaintiff prays for relief and damages as hereinafter stated.

19   PRAYER:
20
             Wherefore, Plaintiff SPENCER NEAL prays that this court grant relief and damages
21
     as follows:
22
     I.      PRAYER FOR FIRST CAUSE OF ACTION FOR DENIAL OF ACCESS BY A
23
             PUBLIC ACCOMMODATION IN VIOLATION OF THE AMERICANS WITH
24           DISABILITIES ACT OF 1990 (42 U.S.C. §1 2101, et seq.)

25           1.      For injunctive relief, compelling Defendant to make SLEEP INN & SUITES
26
     hotel, readily accessible to and usable by individuals with disabilities; and to make reasonable
27
     modifications in policies, practice, eligibility criteria and procedures so as to afford full access to
28
     COMPLAINT - 14
     Case 1:22-cv-00896-PLM-SJB ECF No. 1, PageID.15 Filed 09/27/22 Page 15 of 15



1    the goods, services, facilities, privileges, advantages and accommodations being offered.
2
             2.      For attorneys’ fees, litigation expenses and costs of suit, if plaintiff is deemed
3
     the prevailing party; and
4
             3.      For such other and further relief as the court may deem proper.
5

6    I.      PRAYER FOR SECOND CAUSE OF ACTION FOR DENIAL OF FULL AND
             EQUAL ACCESS IN VIOLATION OF THE MICHIGAN PERSONS WITH
7            DISABILITIES CIVIL RIGHTS ACT M.C.L 37.1301, ET SEQ.
8
             4.      For injunctive relief, compelling Defendant to make the SLEEP INN & SUITES
9
     hotel, readily accessible to and usable by individuals with disabilities, per state law.
10
             5.      General and compensatory damages according to proof;
11

12           6.      All damages for each day, from the inception of the filing of this complaint, on

13   which Defendant have failed to remove barriers which denied plaintiff and other persons with
14
     disabilities full and equal access.
15
             7.      Attorneys’ fees pursuant to Michigan law, if plaintiff is deemed the prevailing
16
     Party, and for all costs of suit;
17

18           9.      Prejudgment interest pursuant to Michigan law; and

19           10.     Such other and further relief as the court may deem just and proper.
20

21                                          Respectfully submitted,

22                                          BLAKEMORE, MEEKER & BOWLER CO., L.P.A.
23                                          /s/ COLIN G. MEEKER
24
                                            COLIN G. MEEKER (Ohio Bar No. 0092980)
                                            495 Portage Lakes Drive
25                                          Akron, OH 44319
                                            Telephone: (330) 253-3337
26                                          Fax: (330) 253-4131
27
                                            cgm@bmblaw.com

28                                          Attorney for Plaintiff SPENCER NEAL
     COMPLAINT - 15
